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  Attorney for Plaintiff
  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                   )   Case No.: 1:19-cv-487-JMS-KJM
                                           )   (Copyright)
                      Plaintiff,           )
      vs.                                  )   PLAINTIFF’S NOTICE OF
                                           )   DISMISSAL OF DEFENDANT DOE
   Muhammad Faizan et. al.                 )   16 WITH PREJUDICE
                                           )
                      Defendants.          )
                                           )

                      PLAINTIFF’S NOTICE OF DISMISSAL OF
                      DEFENDANT DOE 16 WITH PREJUDICE

           Plaintiff provides notice of its voluntary dismissal under Rule 41(a) of

  Defendant Doe 16 (IP address 98.150.154.70 as shown in Exhibit 1 [Doc. #1-1]) with

  prejudice. This dismissal is pursuant to Rule 41(a)(1)(A)(i). No answer or motion

  for summary judgment has been filed. Plaintiff does not seek an award of attorney’s

  fees and/or costs against Defendant Doe 16. Note that this action does not terminate

  the matter as claims remain against other Defendants.


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           DATED: Kailua-Kona, Hawaii, November 29, 2019.


                                        CULPEPPER IP, LLLC


                                        /s/ Kerry S. Culpepper
                                        Kerry S. Culpepper

                                        Attorney for Plaintiff
                                        HB Productions, Inc.



           APPROVED AS TO FORM:

           DATED: Honolulu, Hawaii, November 29, 2019.




                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          Chief United States District Judge




  HB Prods., Inc. v. Muhammad Faizan, et al., Civil No. 19-00487 JMS-KJM; Notice of Dismissal of
  Defendant Doe 16 with Prejudice




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